Case: 4:15-cv-00840-RWS Doc. #: 3 Filed: 05/27/15 Page: 1 of 3 PageID #: 73



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

                                               )
KELLEN POWELL et al.,                          )
                                               )
               Plaintiffs,                     )
                                               )
       v.                                      )
                                               )      Case No. __________
THE CITY OF ST. ANN,                           )
                                               )      Expedited Hearing Requested
               Defendant.                      )            (Class Action)
                                               )

              MOTION FOR TEMPORARY RESTRAINING ORDER

       Plaintiffs, by and through counsel, request this court to grant an emergency

hearing, order to show cause and a temporary restraining order and preliminary

injunction directing specific action by Defendant to ensure that plaintiffs and others are.

       In support thereof, Plaintiffs state:

   1. Plaintiffs incorporate by reference their Complaint for injunctive relief filed

       inconjunction with this Motion. Plaintiffs rely upon the Complaint, the Exhibits

       and Declarations filed herewith and the Memorandum of Law in Support of

       Plaintiffs’ Motion.

   2. The practices described in Plaintiffs’ complaint, have resulted and will continue to

       result in the deprivation of liberty of the Plaintiffs, causing irreparable harm to

       Plaintiffs and others similarly situated.

   3. The constitutional rights of Plaintiffs will be denied, and irreparable harm will

       result, if the Court does not issue immediate relief in the form of issuing a

       Temporary Restraining Order enjoining Defendant from continuing to jail people
Case: 4:15-cv-00840-RWS Doc. #: 3 Filed: 05/27/15 Page: 2 of 3 PageID #: 74



      who are too poor to buy their freedom with a monetary payment according to a

      pre-set bail schedule.

   4. Plaintiffs’ Constitutional rights have been violated through the policy and practice

      of the City of St. Ann.

   5. Unless relief is granted, Plaintiffs and others similarly situated will be denied

      equal protectionand due process protections guaranteed by the Fourteenth

      Amendment to the United States Constitution causing irreparable harm.

   6. The balance of harms favors the equal protection and due process of Plaintiffs.

      The relief sought herein can be provided without undue harm or burden to

      Defendants, whereas irreparable harm will result if Plaintiffs’ Fourteenth

      Amendment due process and equal protection rights are curtailed.

   7. Plaintiffs have a likelihood of success on the merits in support of emergency

      injunctive relief.

   8. The public interest in the right to equal protection and due process supports

      emergency injunctive relief.

      WHEREFORE, Plaintiffs pray that this court:

   (1) Grant an immediate hearing and Order to Show Cause on this Petition;

   (2) Order Defendant to release from its custody named Plaintiff Kellen Powell, either

      on his own recognizance or subject to an unsecured bond or other reasonable and

      lawful non-financial conditions;

   (3) Order Defendants to release, subject to standard booking procedures, any other

      ordinance violation arrestees in its custody or who become in its custody on their
Case: 4:15-cv-00840-RWS Doc. #: 3 Filed: 05/27/15 Page: 3 of 3 PageID #: 75



      own recognizance or on an unsecured bond in a manner consistent with state and

      federal law.


Respectfully Submitted,

/s/ Thomas B. Harvey
Thomas Harvey, MBE #61734
Executive Director, Arch City Defenders
812 N. Collins Alley
St. Louis, MO 63102
Phone (314) 482-3342
Facsimile (314) 621-8071
tharvey@archcitydefenders.org

_/s/ Alec Karakatsanis_______________
Alec Karakatsanis (E.D.Mo. Bar No. 999294DC)

Equal Justice Under Law
916 G Street, NW Suite 701
Washington, DC 20001
(202)-681-2409
alec@equaljusticeunderlaw.org
